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                      UNITED STATES DISTRICT COURT
                      NORTHERN DISTRICT OF FLORIDA
                           PENSACOLA DIVISION



UNITED STATES OF AMERICA

vs                                                             CASE NO. 3:08cr79/MCR

ROBERT LEIGHTON PENDELL
                                    /


                     JUDGMENT OF ACQUITTAL BY THE COURT


       The above entitled cause came on for trial by a jury, and the jury having returned

a verdict of guilty as to Count One on March 31, 2010. The court having heard the

testimony in this case and having determined that there is insufficient evidence to support

a conviction, it is upon consideration hereby

       ORDERED        and    ADJUDGED that the defendant, ROBERT LEIGHTON

PENDELL’s oral motion for judgment of acquittal was previously GRANTED as to Count

Two on March 29, 2010 and was GRANTED as to Count One on March 31, 2010 for

reasons stated on the record.

       IT IS FURTHER ORDERED that JUDGMENT OF ACQUITTAL of the defendant,

ROBERT LEIGHTON PENDELL as to Counts One and Two in the Indictment is hereby

entered.

       DONE and ORDERED at Pensacola, Florida, this 2nd day of April, 2010.




                                                  s   /M. Casey Rodgers
                                                 M. CASEY RODGERS
                                                 UNITED STATES DISTRICT JUDGE
